Case 3:21-cv-15310-GC-TJB Document 39 Filed 10/18/22 Page 1 of 1 PagelD: 573

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEW JERSEY

BODYGUARD PRODUCTIONS,
INC, ET AL.,

Plaintiffs,
v.

RCN TELECOM SERVICES OF
MASSACHUSETTS, LLC and RCN
TELECOM SERVICES, LLC,

Defendants.

 

 

Civil Action No. 3:21-cv-15310-FLW-
TIB

PLAINTIFF KILLING
DISTRIBUTION LLC’S NOTICE OF
DISMISSAL WITHOUT
PREJUDICE

PLAINTIFF KILLING LINK DISTRIBUTION LLC’S NOTICE OF
DISMISSAL WITHOUT PREJUDICE

Plaintiff KILLING LINK DISTRIBUTION, LLC (‘Plaintiff’) hereby

provides notice of its voluntary dismissal under Fed. R. Civ. P. 41(A) of Defendants

RCN TELECOM SERVICES OF MASSACHUSETTS, LLC and RCN TELECOM

SERVICES, LLC (“Defendants”) without prejudice. This dismissal is pursuant to

Rule 41(a)(1)(A)G). No answer or motion for summary judgment has been filed by

Defendants.

DATED: October 12, 2022.

By:  /s/Michael Cukor
MCGEARY CUKOR LLC

20-02314

It is so ordered this /7' day
of OCte bea, 20.22

 

  
  

ALi
Castner, VU.S.D.J.

   

 
